EXHIBIT A
Luminati Networks, Inc. v. BIScience Inc.                                                       Exhibit A – Disputed Constructions and Supporting Evidence
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                                                [‘044, ‘866] PATENT CLAIM TERMS FOR CONSTRUCTION

    No.   Claim Language                 Claim(s) of     Plaintiff’s Proposed Construction and Evidence         Defendant’s Proposed Construction and Evidence
                                            Patent       in Support1                                            in Support
                                         Implicated
    1     Preamble                       Claim 81        Proposed Construction: Preamble is not limiting        Proposed Construction: The preamble is limiting.
                                         [‘044]
                                                         Intrinsic Evidence: 51:19-56:29; 173:19-31 of the
                                                         ‘044 Patent; see intrinsic support for each disputed
                                                         term in the preamble including “first device,”
                                                         “second device,” “first server,” “second server,”
                                                         and “first content identifier.”

    2     Preamble                       Claim 108       Proposed Construction: Preamble is not limiting        Proposed Construction: The preamble is limiting.
                                         [‘044]
                                                         Intrinsic Evidence: 51:19-56:29; 173:19-31 of the
                                                         ‘044 Patent; see intrinsic support for each disputed
                                                         term in the preamble including “first device,”
                                                         “second device,” “first server,” “second server,”
                                                         and “first content identifier.”

    3     “first device”                 Claim 81,       Proposed Construction: Not indefinite / Preamble       Proposed Construction: Indefinite under 35 U.S.C.
                                         108 [‘044]      not limiting / plain and ordinary meaning              §112

                                                         Intrinsic Support: Fig. 5B; 49a; 4:33-54; 6:18-8:46;   Alternatively:
                                                         42:25-58; 43:22-49; 51:19-56:29; 65:31-58; 70:43-
                                                         71:20; 71:28-72:38; 81:21-85:34; 90:43-91:15;          A device, separate from the second device, the first
                                                         93:34-94:6; 95:17-36; 101:3-21; 104:22-106:6;          server, and the second server, that receives the
                                                         112:7-25; 119:34-65; 125:33-46; 142:12-32              internet content from the second device.
                                                         166:36-167:6 of the ’044 Patent;
                                                                                                                Intrinsic Support: “FIG. 5 depicts schematically
                                                         Extrinsic Support:                                     client devices, tunnel devices, and servers connected
                                                                                                                to the Internet” Col. 76, lines 32-33.
                                                         PC Mag Encyclopedia definition for computing
                                                         device: “Any electronic equipment controlled by a      “In one example, an accessing to a data server is
                                                         CPU, including desktop and laptop computers,           improved by using an intermediate device referred to
                                                         smartphones and tablets. It usually refers to a        as ‘tunnel’ device, that is executing a ‘tunnel’

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  Plaintiff intends to rely on an expert declaration in support of its claim construction positions and opposition to Defendant’s indefiniteness positions and to
rebut and respond to any expert declaration or evidence Defendant may submit.

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                                                general-purpose device that can accept software for    flowchart. FIG. 5 shows a system 30 including two
                                                many purposes in contrast with a dedicated unit of     client devices, a client device #1 31a and a client
                                                equipment such as a network switch or router.”         device #2 31b, that may access the data servers 22a
                                                                                                       and 22b using one or more of a tunnel device #1
                                                https://www.pcmag.com/encyclopedia/term/66551/         33a, a tunnel device #2 33b, and a tunnel device #3
                                                computing-device                                       33c, under the management and control of an
                                                                                                       acceleration server 32. These network elements
                                                IEV ref 732-01-12 definition of server: “functional    communicates with each other using the Internet
                                                unit that provides services to workstations, to        113.” Col. 81, lines 32-41 (emphasis added)
                                                personal computers or to other functional units in a
                                                computer network”                                      “The chart 50 shows the messaging and related
                                                                                                       timing associated with the operation of the
                                                http://www.electropedia.org/iev/iev.nsf/display?op     acceleration server 32 (corresponding to a dashed
                                                enform&ievref=732-01-12                                line 51a), a client device such as the client device #1
                                                                                                       31a (corresponding to a dashed line 51b), a tunnel
                                                Websters Dictionary definition of server: “a           device such as the tunnel device #1 33a
                                                computer in a network that is used to provide          (corresponding to a dashed line 51c), and a data
                                                services (such as access to files or shared            server such as the data server #1 22a (corresponding
                                                peripherals or the routing of e-mail) to other         to a dashed line 51d).” Col. 81, lines 49-55
                                                computers in the network.”                             (emphasis added)

                                                https://www.merriam-                                   Extrinsic support: RFC 7230 (June 2014), p. 7 - (first
                                                webster.com/dictionary/server                          device would be the device that runs a “user agent”
                                                                                                       client program).

 4     “second device”             Claim 81,    Proposed Construction: Not indefinite / Preamble       Proposed Construction: Indefinite under 35 U.S.C.
                                   108 [‘044]   not limiting / plain and ordinary meaning              §112

                                                Intrinsic Support: Abstract; Fig. 5B; 49a; 4:33-54;    Alternatively:
                                                6:18-8:46; 42:25-58; 43:22-49; 51:19-56:29;
                                                65:31-58; 70:43-71:20; 71:28-72:38; 81:21-85:34;       A device, separate from the first device, the first
                                                90:43-91:15; 93:34-94:6; 95:17-36; 101:3-21;           server, and the second server, that is
                                                104:22-106:6; 112:7-25; 119:34-65; 125:33-46;          communicatively positioned between the first device
                                                142:12-32 166:36-167:6 of the ’044 Patent;             and the second server.

                                                Extrinsic Support:                                     Intrinsic Support: “FIG. 5 depicts schematically
                                                                                                       client devices, tunnel devices, and servers connected
                                                PC Mag Encyclopedia definition for computing           to the Internet” Col. 76, lines 32-33.
                                                device: “Any electronic equipment controlled by a
                                                CPU, including desktop and laptop computers,

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                                                smartphones and tablets. It usually refers to a          “In one example, an accessing to a data server is
                                                general-purpose device that can accept software for      improved by using an intermediate device referred to
                                                many purposes in contrast with a dedicated unit of       as ‘tunnel’ device, that is executing a ‘tunnel’
                                                equipment such as a network switch or router.”           flowchart. FIG. 5 shows a system 30 including two
                                                                                                         client devices, a client device #1 31a and a client
                                                https://www.pcmag.com/encyclopedia/term/66551/           device #2 31b, that may access the data servers 22a
                                                computing-device                                         and 22b using one or more of a tunnel device #1
                                                                                                         33a, a tunnel device #2 33b, and a tunnel device #3
                                                IEV ref 732-01-12 definition of server: “functional      33c, under the management and control of an
                                                unit that provides services to workstations, to          acceleration server 32. These network elements
                                                personal computers or to other functional units in a     communicates with each other using the Internet
                                                computer network”                                        113.” Col. 81, lines 32-41 (emphasis added)

                                                http://www.electropedia.org/iev/iev.nsf/display?op       “The chart 50 shows the messaging and related
                                                enform&ievref=732-01-12                                  timing associated with the operation of the
                                                                                                         acceleration server 32 (corresponding to a dashed
                                                Websters Dictionary definition of server: “a             line 51a), a client device such as the client device #1
                                                computer in a network that is used to provide            31a (corresponding to a dashed line 51b), a tunnel
                                                services (such as access to files or shared              device such as the tunnel device #1 33a
                                                peripherals or the routing of e-mail) to other           (corresponding to a dashed line 51c), and a data
                                                computers in the network.”                               server such as the data server #1 22a (corresponding
                                                                                                         to a dashed line 51d).” Col. 81, lines 49-55
                                                https://www.merriam-                                     (emphasis added)
                                                webster.com/dictionary/server
                                                                                                         Extrinsic support: RFC 7230 (June 2014), p. 10 -
                                                                                                         (though note that it also refers to requests to the
                                                                                                         proxy in the form of an “absolute URL”)

 5     “first server”              Claim 81,    Proposed Construction: Not indefinite / Preamble         Proposed Construction: Indefinite under 35 U.S.C.
                                   108 [‘044]   not limiting / plain and ordinary meaning                §112

                                                Intrinsic Support: Figs. 2, 5b, 7, 11, 11a-c, 12, 12a,   Alternatively:
                                                13, 20, 26a-d, 34, 49; 2:34-35; 4:33-54; 6:18-8:46;
                                                51:19-56:29; 61:65-62:63; 63:14-27; 65:31-58;            A server, separate from the first device, the second
                                                66:8-17;73:63-74:19; 81:21-85:34; 86:15-41;              device, and the second server.
                                                93:34-94:6; 96:32-62 of the ‘044 Patent
                                                                                                         Intrinsic Support: “FIG. 5 depicts schematically
                                                Extrinsic Support:                                       client devices, tunnel devices, and servers connected
                                                                                                         to the Internet” Col. 76, lines 32-33.



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                                                PC Mag Encyclopedia definition for computing             “In one example, an accessing to a data server is
                                                device: “Any electronic equipment controlled by a        improved by using an intermediate device referred to
                                                CPU, including desktop and laptop computers,             as ‘tunnel’ device, that is executing a ‘tunnel’
                                                smartphones and tablets. It usually refers to a          flowchart. FIG. 5 shows a system 30 including two
                                                general-purpose device that can accept software for      client devices, a client device #1 31a and a client
                                                many purposes in contrast with a dedicated unit of       device #2 31b, that may access the data servers 22a
                                                equipment such as a network switch or router.”           and 22b using one or more of a tunnel device #1
                                                                                                         33a, a tunnel device #2 33b, and a tunnel device #3
                                                https://www.pcmag.com/encyclopedia/term/66551/           33c, under the management and control of an
                                                computing-device                                         acceleration server 32. These network elements
                                                                                                         communicates with each other using the Internet
                                                IEV ref 732-01-12 definition of server: “functional      113.” Col. 81, lines 32-41 (emphasis added)
                                                unit that provides services to workstations, to
                                                personal computers or to other functional units in a     “The chart 50 shows the messaging and related
                                                computer network”                                        timing associated with the operation of the
                                                                                                         acceleration server 32 (corresponding to a dashed
                                                http://www.electropedia.org/iev/iev.nsf/display?op       line 51a), a client device such as the client device #1
                                                enform&ievref=732-01-12                                  31a (corresponding to a dashed line 51b), a tunnel
                                                                                                         device such as the tunnel device #1 33a
                                                Websters Dictionary definition of server: “a             (corresponding to a dashed line 51c), and a data
                                                computer in a network that is used to provide            server such as the data server #1 22a (corresponding
                                                services (such as access to files or shared              to a dashed line 51d).” Col. 81, lines 49-55
                                                peripherals or the routing of e-mail) to other           (emphasis added)
                                                computers in the network.”
                                                                                                         Extrinsic support: RFC 7230 (June 2014), p. 10 -
                                                https://www.merriam-                                     (refers to servers as programs. For the asserted
                                                webster.com/dictionary/server                            claims, “server” would mean a device that runs a
                                                                                                         server program)

 6     “second server”             Claim 81,    Proposed Construction: Not indefinite / Preamble         Proposed Construction: Indefinite under 35 U.S.C.
                                   108 [‘044]   not limiting / plain and ordinary meaning                §112

                                                Intrinsic Support: Figs. 2, 5b, 7, 11, 11a-c, 12, 12a,   Alternatively:
                                                13, 20, 26a-d, 34, 49; 2:34-35; 4:33-54; 6:18-8:46;
                                                51:19-56:29; 61:65-62:63; 63:14-27; 65:31-58;            A server, separate from the first device, the second
                                                66:8-17;73:63-74:19; 81:21-85:34; 86:15-41;              device, and the first server, from which the internet
                                                93:34-94:6; 96:32-62 of the ‘044 Patent                  content is fetched.

                                                Extrinsic Support:



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                                                       PC Mag Encyclopedia definition for computing           Intrinsic Support: “FIG. 5 depicts schematically
                                                       device: “Any electronic equipment controlled by a      client devices, tunnel devices, and servers connected
                                                       CPU, including desktop and laptop computers,           to the Internet” Col. 76, lines 32-33.
                                                       smartphones and tablets. It usually refers to a
                                                       general-purpose device that can accept software for    “In one example, an accessing to a data server is
                                                       many purposes in contrast with a dedicated unit of     improved by using an intermediate device referred to
                                                       equipment such as a network switch or router.”         as ‘tunnel’ device, that is executing a ‘tunnel’
                                                                                                              flowchart. FIG. 5 shows a system 30 including two
                                                       https://www.pcmag.com/encyclopedia/term/66551/         client devices, a client device #1 31a and a client
                                                       computing-device                                       device #2 31b, that may access the data servers 22a
                                                                                                              and 22b using one or more of a tunnel device #1
                                                       IEV ref 732-01-12 definition of server: “functional    33a, a tunnel device #2 33b, and a tunnel device #3
                                                       unit that provides services to workstations, to        33c, under the management and control of an
                                                       personal computers or to other functional units in a   acceleration server 32. These network elements
                                                       computer network”                                      communicates with each other using the Internet
                                                                                                              113.” Col. 81, lines 32-41 (emphasis added)
                                                       http://www.electropedia.org/iev/iev.nsf/display?op
                                                       enform&ievref=732-01-12                                “The chart 50 shows the messaging and related
                                                                                                              timing associated with the operation of the
                                                       Websters Dictionary definition of server: “a           acceleration server 32 (corresponding to a dashed
                                                       computer in a network that is used to provide          line 51a), a client device such as the client device #1
                                                       services (such as access to files or shared            31a (corresponding to a dashed line 51b), a tunnel
                                                       peripherals or the routing of e-mail) to other         device such as the tunnel device #1 33a
                                                       computers in the network.”                             (corresponding to a dashed line 51c), and a data
                                                                                                              server such as the data server #1 22a (corresponding
                                                       https://www.merriam-                                   to a dashed line 51d).” Col. 81, lines 49-55
                                                       webster.com/dictionary/server                          (emphasis added)

                                                                                                              Extrinsic support: RFC 7230 (June 2014), p. 10 –
                                                                                                              “origin server”

 7     “First Content Identifier”        Claim 81,     Proposed Construction: Plain and ordinary              Proposed Construction: Identification of the internet
                                         82, 87, 89,   meaning                                                content that is to be fetched.
       Exemplary Claim                   101, 108
       Language:                         [‘044]        Intrinsic Support: Fig. 15; 5:2-47; 8:12-29; 12:28-    Intrinsic Support: “fetching over the Internet a first
                                                       49; 19:49-20:36; 46:30-43; 47:37-44; 51:19-56:29       content, identified by a first content identifier” Claim
       “a first content, identified by                 56:59-57:36; 58:20-30; 61:65-62:63; 63:43-56;          81 preamble
       a first content identifier”                     73:41-47; 95:25-96:3; 102:45-59; 107:34-47;
       [Claims 1, 81, 108 of ‘044                      110:33-111:10; 124:26-57; 170:40-42; 171:31-32;
       Patent]                                         172:5-12 of the ’044 Patent;

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       “sending the first content           Extrinsic Support:
       identifier” [Claims 82 of ‘044
       Patent]                              ITU-T J.780 (06/2012) definition of content: “A
                                            combination of audio, still image, graphic, video,
       “the third request includes          or data. NOTE – A variety of formats is classified
       the first content identifier”        as the "data" (e.g., text, encoded values,
       [Claims 87 and 89 of ‘044            multimedia description language introduced by
       Patent]                              ITU-T H.760).”

                                            https://www.itu.int/net/ITU-R/asp/terminology-
                                            definition.asp?lang=en&rlink={46309866-F797-
                                            45BC-81E9-2B6B2DAC1F32}

                                            ITU-T T.411 (93), 3.39 definition of content: The
                                            information conveyed by the document, other than
                                            the structural information, and that is intended for
                                            human perception.

                                            https://www.itu.int/net/ITU-R/asp/terminology-
                                            definition.asp?lang=en&rlink={0A3C5266-56D4-
                                            4ED8-9076-A4345192D7EB}

                                            ITU-T X.902 (95), 12.2; X.910 (98), 6.2 definition
                                            for identifier: “An unambiguous name, in a given
                                            naming context”

                                            https://www.itu.int/net/ITU-R/asp/terminology-
                                            definition.asp?lang=en&rlink={5C58FBE6-BE32-
                                            4E31-81CE-676FCB191E2B}

                                            (see 12.2 of ITU-T Rec. X.902 | ISO/IEC 10746-
                                            2).

                                            ITU-T Definition – Identifier: A character, or
                                            group of characters, used to identify or name an
                                            item of data and possibly to indicate certain
                                            properties of that data. Ref.: ITU-T, Q.9 (88),
                                            6108; Glos. VI.7, VI.8, VI.9 (88)

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                                                     https://www.itu.int/net/ITU-R/asp/terminology-
                                                     definition.asp?lang=en&rlink={A842D85F-D255-
                                                     4218-98D1-D8AD272C9067}
 8     “identified in the Internet by   Claim 81,    Proposed Construction: Preamble not limiting /          Proposed Construction: Identified by a first
       a first identifier”              108 [‘044]   plain and ordinary meaning                              identifier that is different than the third identifier,
                                                                                                             although there may be some overlap.
                                                     Intrinsic Support: Fig. 15; 5:2-47; 8:12-29; 12:28-
                                                     49; 19:49-20:36; 46:30-43; 47:37-44; 51:19-56:29        Intrinsic Support: “The prior art of record fails to
                                                     56:59-57:36; 58:20-30; 61:65-62:63; 63:43-56;           teach or fairly suggest a first device sending a second
                                                     73:41-47; 95:25-96:3; 102:45-59; 107:34-47;             request to a second device using a second identifier,
                                                     110:33-111:10; 124:26-57; 170:40-42; 171:31-32;         the second request including a first content
                                                     172:5-12; 173:19-31; 174:58-175:6 of the ’044           identifier and a third identifier, in the specific
                                                     Patent; see also intrinsic support for “first content   manner and combinations recited in claims 1, 81, and
                                                     identifier,” “first device,” “second device,” “first    108.” ’044 Notice of Allowance, page 2, September
                                                     server,” and “second server.”                           11, 2015 (emphasis added)

                                                     Extrinsic Support:                                      “After thorough review of related prior art, the
                                                                                                             application has been deemed allowable because of
                                                     ITU-T X.902 (95), 12.2; X.910 (98), 6.2 Definition      the limitations of a first device sending a second
                                                     for Identifier: “An unambiguous name, in a given        request to a second device using a second identifier,
                                                     naming context”                                         the second request including a first content
                                                                                                             identifier and a third identifier, recited in the
                                                     https://www.itu.int/net/ITU-R/asp/terminology-          specific manner and combinations recited within
                                                     definition.asp?lang=en&rlink={5C58FBE6-BE32-            the claims.” ’044 Notice of Allowance, page 3,
                                                     4E31-81CE-676FCB191E2B}                                 September 11, 2015 (emphasis added)

                                                     (see 12.2 of ITU-T Rec. X.902 | ISO/IEC 10746-
                                                     2).

                                                     International Electrotechnical Commission
                                                     definition of identifier: “character or string of
                                                     characters, used to identify or name a data item.”

                                                     http://www.electropedia.org/iev/iev.nsf/display?op
                                                     enform&ievref=171-02-35




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 9     “identified in the Internet by   Claim 81,    Proposed Construction: Preamble not limiting /          Proposed Construction: Identified by a first
       a third identifier”              108 [‘044]   plain and ordinary meaning                              identifier that is different than the third identifier,
                                                                                                             although there may be some overlap.
                                                     Intrinsic Support: Fig. 15; 5:2-47; 8:12-29; 12:28-
                                                     49; 19:49-20:36; 46:30-43; 47:37-44; 51:19-56:29        Intrinsic Support: “The prior art of record fails to
                                                     56:59-57:36; 58:20-30; 61:65-62:63; 63:43-56;           teach or fairly suggest a first device sending a second
                                                     73:41-47; 95:25-96:3; 102:45-59; 107:34-47;             request to a second device using a second identifier,
                                                     110:33-111:10; 124:26-57; 170:40-42; 171:31-32;         the second request including a first content
                                                     172:5-12; 173:19-31; 174:58-175:6 of the ’044           identifier and a third identifier, in the specific
                                                     Patent; see also intrinsic support for “first content   manner and combinations recited in claims 1, 81, and
                                                     identifier,” “first device,” “second device,” “first    108.” ’044 Notice of Allowance, page 2, September
                                                     server,” and “second server.”                           11, 2015 (emphasis added)

                                                     Extrinsic Support:                                      “After thorough review of related prior art, the
                                                                                                             application has been deemed allowable because of
                                                     ITU-T X.902 (95), 12.2; X.910 (98), 6.2 Definition      the limitations of a first device sending a second
                                                     for Identifier: “An unambiguous name, in a given        request to a second device using a second identifier,
                                                     naming context”                                         the second request including a first content
                                                                                                             identifier and a third identifier, recited in the
                                                     https://www.itu.int/net/ITU-R/asp/terminology-          specific manner and combinations recited within
                                                     definition.asp?lang=en&rlink={5C58FBE6-BE32-            the claims.” ’044 Notice of Allowance, page 3,
                                                     4E31-81CE-676FCB191E2B}                                 September 11, 2015 (emphasis added)

                                                     (see 12.2 of ITU-T Rec. X.902 | ISO/IEC 10746-
                                                     2).

                                                     International Electrotechnical Commission
                                                     definition of identifier: “character or string of
                                                     characters, used to identify or name a data item.”

                                                     http://www.electropedia.org/iev/iev.nsf/display?op
                                                     enform&ievref=171-02-35

 10    “identified in the Internet by   Claim 81,    Proposed Construction: Preamble not limiting /          Proposed Construction: Identified by information
       a second identifier”             108 [‘044]   plain and ordinary meaning                              that includes an address of the second device.

                                                     Intrinsic Support: Fig. 15; 5:2-47; 8:12-29; 12:28-     Intrinsic Support: See construction of “sending a
                                                     49; 19:49-20:36; 46:30-43; 47:37-44; 51:19-56:29        first request” in UAB Tesonet CC Order, Dkt. 121, p.
                                                     56:59-57:36; 58:20-30; 61:65-62:63; 63:43-56;           62.


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                                              73:41-47; 95:25-96:3; 102:45-59; 107:34-47;
                                              110:33-111:10; 124:26-57; 170:40-42; 171:31-32;          “In response to the client device 31a request, the
                                              172:5-12; 173:19-31; 174:58-175:6 of the ’044            acceleration server 32 prepares in a step ‘Prepare
                                              Patent; see also intrinsic support for “first content    List’ 52b the list of current available tunnels, and
                                              identifier,” “first device,” “second device,” “first     sends the list as a ‘Send List’ message 56d to the
                                              server,” and “second server.”                            client device 31a, which in turn receives the list as
                                                                                                       part of a ‘Receive Tunnels List’ step 62b.” Col. 83,
                                              Extrinsic Support:                                       lines 4-8.

                                              ITU-T X.902 (95), 12.2; X.910 (98), 6.2 Definition
                                              for Identifier: “An unambiguous name, in a given
                                              naming context”

                                              https://www.itu.int/net/ITU-R/asp/terminology-
                                              definition.asp?lang=en&rlink={5C58FBE6-BE32-
                                              4E31-81CE-676FCB191E2B}

                                              (see 12.2 of ITU-T Rec. X.902 | ISO/IEC 10746-
                                              2).

                                              International Electrotechnical Commission
                                              definition of identifier: “character or string of
                                              characters, used to identify or name a data item.”

                                              http://www.electropedia.org/iev/iev.nsf/display?op
                                              enform&ievref=171-02-35

 11    “receiving the second       Claim 81   Proposed Construction: Plain and ordinary                Proposed Construction: Receiving, by the first
       identifier from the first   [‘044]     meaning                                                  device from the first server, identification of the
       server”                                                                                         second device that includes an address of the second
                                              Intrinsic Support: Fig. 15; 5:2-47; 8:12-29; 12:28-      device.
                                              49; 19:49-20:36; 46:30-43; 47:37-44; 51:19-56:29
                                              56:59-57:36; 58:20-30; 61:65-62:63; 63:43-56;            Intrinsic Support: “In response to the client device
                                              64:48-65:5; 73:41-47; 95:25-96:3; 102:45-59;             31a request, the acceleration server 32 prepares in a
                                              107:34-47; 110:33-111:10; 124:26-57; 170:40-42;          step ‘Prepare List’ 52b the list of current available
                                              171:31-32; 172:5-12; 173:19-31; 174:58-175:6 of          tunnels, and sends the list as a ‘Send List’ message
                                              the ’044 Patent; see also intrinsic support for “first   56d to the client device 31a, which in turn receives
                                              content identifier,” “first device,” “second device,”    the list as part of a ‘Receive Tunnels List’ step 62b.”
                                              “first server,” and “second server.”                     Col. 83, lines 4-8.


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                                                  Extrinsic Support:

                                                  See above for “first server.”

                                                  ITU-T X.902 (95), 12.2; X.910 (98), 6.2 Definition
                                                  for Identifier: “An unambiguous name, in a given
                                                  naming context”

                                                  https://www.itu.int/net/ITU-R/asp/terminology-
                                                  definition.asp?lang=en&rlink={5C58FBE6-BE32-
                                                  4E31-81CE-676FCB191E2B}

                                                  (see 12.2 of ITU-T Rec. X.902 | ISO/IEC 10746-
                                                  2).

                                                  International Electrotechnical Commission
                                                  definition of identifier: “character or string of
                                                  characters, used to identify or name a data item.”

                                                  http://www.electropedia.org/iev/iev.nsf/display?op
                                                  enform&ievref=171-02-35


 12    “sending a second request to    Claim 81   Proposed Construction: Plain and ordinary               Proposed Construction: Sending, by the first device
       the second device using the     [‘044]     meaning                                                 to the second device, using the address of the second
       second identifier, the second                                                                      device that was received from the first server, a
       request includes the first                 Intrinsic Support: Fig. 15; 5:2-47; 8:12-29; 12:28-     request for the internet content which is to be fetched
       content identifier and the                 49; 19:49-20:36; 46:30-43; 47:37-44; 51:19-56:29        that includes both (1) identification of the internet
       third identifier”                          56:59-57:36; 58:20-30; 61:65-62:63; 63:43-56;           content that is to be fetched and also (2) the address
                                                  64:48-65:5; 65:31-44; 73:41-47; 74:20-39; 84:19-        of the second server.
                                                  44; 86:15-30; 95:25-96:3; 102:45-59; 107:34-47;
                                                  110:33-111:10; 124:26-57; 170:40-42; 171:31-32;         Intrinsic support: “The prior art of record fails to
                                                  172:5-12; 173:19-31; 174:58-175:6 of the ’044           teach or fairly suggest a first device sending a second
                                                  Patent; see also intrinsic support for “first content   request to a second device using a second identifier,
                                                  identifier,” “first device,” “second device,” “first    the second request including a first content
                                                  server,” and “second server.”                           identifier and a third identifier, in the specific
                                                                                                          manner and combinations recited in claims 1, 81, and



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                                                 Extrinsic Support:                                   108.” ’044 Notice of Allowance, page 2, September
                                                                                                      11, 2015 (emphasis added)
                                                 See above for “second device” and “content
                                                 identifier.”                                         “After thorough review of related prior art, the
                                                                                                      application has been deemed allowable because of
                                                 ITU-T X.902 (95), 12.2; X.910 (98), 6.2 Definition   the limitations of a first device sending a second
                                                 for Identifier: “An unambiguous name, in a given     request to a second device using a second identifier,
                                                 naming context”                                      the second request including a first content
                                                                                                      identifier and a third identifier, recited in the
                                                 https://www.itu.int/net/ITU-R/asp/terminology-       specific manner and combinations recited within
                                                 definition.asp?lang=en&rlink={5C58FBE6-BE32-         the claims.” ’044 Notice of Allowance, page 3,
                                                 4E31-81CE-676FCB191E2B}                              September 11, 2015 (emphasis added)

                                                 (see 12.2 of ITU-T Rec. X.902 | ISO/IEC 10746-
                                                 2).

                                                 International Electrotechnical Commission
                                                 definition of identifier: “character or string of
                                                 characters, used to identify or name a data item.”

                                                 http://www.electropedia.org/iev/iev.nsf/display?op
                                                 enform&ievref=171-02-35

 13    “multitasking or            Claim 86,     Proposed Construction: “multiple tasks being
       multiprocessing”            88, 91, 107   performed in overlapping time periods using
                                   [‘044]        common processing resources”

                                                 Intrinsic Support: 24:60-25:4

                                                 Extrinsic Support:
                                                 International Electrotechnical Commission IEV
                                                 171-05-69 definition of multitasking: “concurrent
                                                 or interleaved execution of two or more tasks on a
                                                 single computer”
                                                 http://www.electropedia.org/iev/iev.nsf/display?op
                                                 enform&ievref=171-05-69
                                                 Websters Dictionary definition of multitasking:
                                                 “the concurrent performance of several jobs by a
                                                 computer.”


                                                                         11
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                                                     https://www.merriam-
                                                     webster.com/dictionary/multitasking
 14    “proximity to the second          Claim 97    Proposed Construction: “distance from second
       server”                           [‘044]      server”

                                                     Intrinsic Support: 53:55-59; 90:43-91:15

                                                     Extrinsic Support:

                                                     Dictionary.com definition of proximity: “nearness
                                                     in place, time, order, occurrence, or relation.”
                                                     https://www.dictionary.com/browse/proximity?s=t
 15    “past activities”                 Claim 99    Proposed Construction: “past actions or
                                         [‘044]      performance”

                                                     Intrinsic Support: Figs. 5a, 7B; 53:55-59; 96:50-
                                                     97:59; 85:35-63; 91:26-44; 96:50-97:62 of the ’044
                                                     Patent

 16    “sending the second               Claim 108   Proposed Construction: Plain and ordinary               Proposed Construction: Sending, by the second
       identifier to the first server”   [‘044]      meaning                                                 device to the first server, identification of the second
                                                                                                             device that includes an address of the second device.
                                                     Intrinsic Support: Fig. 15; 5:2-47; 8:12-29; 12:28-
                                                     49; 19:49-20:36; 46:30-43; 47:37-44; 51:19-56:29        Intrinsic Support: “In response to the client device
                                                     56:59-57:36; 58:20-30; 61:65-62:63; 63:43-56;           31a request, the acceleration server 32 prepares in a
                                                     64:48-65:5; 65:31-44; 73:41-47; 74:20-39; 84:19-        step ‘Prepare List’ 52b the list of current available
                                                     44; 86:15-30; 95:25-96:3; 102:45-59; 107:34-47;         tunnels, and sends the list as a ‘Send List’ message
                                                     110:33-111:10; 124:26-57; 170:40-42; 171:31-32;         56d to the client device 31a, which in turn receives
                                                     172:5-12; 173:19-31; 174:58-175:6 of the ’044           the list as part of a ‘Receive Tunnels List’ step 62b.”
                                                     Patent; see also intrinsic support for “first content   Col. 83, lines 4-8.
                                                     identifier,” “first device,” “second device,” “first
                                                     server,” and “second server.”

                                                     Extrinsic Support:

                                                     See above for “first server.”

                                                     ITU-T X.902 (95), 12.2; X.910 (98), 6.2 Definition
                                                     for Identifier: “An unambiguous name, in a given
                                                     naming context”

                                                                              12
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                                                      https://www.itu.int/net/ITU-R/asp/terminology-
                                                      definition.asp?lang=en&rlink={5C58FBE6-BE32-
                                                      4E31-81CE-676FCB191E2B}

                                                      (see 12.2 of ITU-T Rec. X.902 | ISO/IEC 10746-
                                                      2).

                                                      International Electrotechnical Commission
                                                      definition of identifier: “character or string of
                                                      characters, used to identify or name a data item.”

                                                      http://www.electropedia.org/iev/iev.nsf/display?op
                                                      enform&ievref=171-02-35

 17    “receiving a second request        Claim 108   Proposed Construction: Plain and ordinary               Proposed Construction: Receiving, by the second
       from the first device, the         [‘044]      meaning                                                 device from the first device, a request for the internet
       second request includes the                                                                            content that includes both (1) identification of the
       first content identifier and the               Intrinsic Support: Fig. 15; 5:2-47; 8:12-29; 12:28-     internet content that is to be fetched and also (2) the
       third identifier”                              49; 19:49-20:36; 46:30-43; 47:37-44; 51:19-56:29        address of the second server.
                                                      56:59-57:36; 58:20-30; 61:65-62:63; 63:43-56;
                                                      64:48-65:5; 65:31-44; 73:41-47; 74:20-39; 84:19-        Intrinsic support: “The prior art of record fails to
                                                      44; 86:15-30; 95:25-96:3; 102:45-59; 107:34-47;         teach or fairly suggest a first device sending a second
                                                      110:33-111:10; 124:26-57; 170:40-42; 171:31-32;         request to a second device using a second identifier,
                                                      172:5-12; 173:19-31; 174:58-175:6 of the ’044           the second request including a first content
                                                      Patent; see also intrinsic support for “first content   identifier and a third identifier, in the specific
                                                      identifier,” “first device,” “second device,” “first    manner and combinations recited in claims 1, 81, and
                                                      server,” and “second server.”                           108.” ’044 Notice of Allowance, page 2, September
                                                                                                              11, 2015 (emphasis added)
                                                      Extrinsic Support:
                                                                                                              “After thorough review of related prior art, the
                                                      See above for “first device” and “content               application has been deemed allowable because of
                                                      identifier.”                                            the limitations of a first device sending a second
                                                                                                              request to a second device using a second identifier,
                                                      ITU-T X.902 (95), 12.2; X.910 (98), 6.2 Definition      the second request including a first content
                                                      for Identifier: “An unambiguous name, in a given        identifier and a third identifier, recited in the
                                                      naming context”                                         specific manner and combinations recited within
                                                                                                              the claims.” ’044 Notice of Allowance, page 3,
                                                                                                              September 11, 2015 (emphasis added)


                                                                               13
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                                                      https://www.itu.int/net/ITU-R/asp/terminology-
                                                      definition.asp?lang=en&rlink={5C58FBE6-BE32-
                                                      4E31-81CE-676FCB191E2B}

                                                      (see 12.2 of ITU-T Rec. X.902 | ISO/IEC 10746-
                                                      2).

                                                      International Electrotechnical Commission
                                                      definition of identifier: “character or string of
                                                      characters, used to identify or name a data item.”

                                                      http://www.electropedia.org/iev/iev.nsf/display?op
                                                      enform&ievref=171-02-35

 18    “in response to receiving the      Claim 108   Proposed Construction: Plain and ordinary               Proposed Construction: After the second device
       first content, sending the first   [‘044]      meaning                                                 receives the internet content, the second device
       content to the first device                                                                            forwards the internet content to the first device using
       using the first identifier”                    Intrinsic Support: Fig. 15; 5:2-47; 8:12-29; 12:28-     an address of the first device.
                                                      49; 19:49-20:36; 46:30-43; 47:37-44; 51:19-56:29
                                                      56:59-57:36; 58:20-30; 61:65-62:63; 63:43-56;           Intrinsic Support: “The received content is prepared
                                                      64:48-65:5; 65:31-44; 73:41-47; 74:20-39; 84:19-        in a ‘Content Prepared’ state 54d, and then sent, in a
                                                      44; 86:15-30; 95:25-96:3; 102:45-59; 107:34-47;         ‘Send Content’ message 56} (corresponding to a
                                                      110:33-111:10; 124:26-57; 170:40-42; 171:31-32;         ‘Send Content To Client’ step 73e), to the client
                                                      172:5-12; 173:19-31; 174:58-175:6 of the ’044           device #1 31a. “ Col. 83, lines 62-65.
                                                      Patent; see also intrinsic support for “first content
                                                      identifier,” “first device,” “second device,” “first
                                                      server,” and “second server.”

                                                      Extrinsic Support:

                                                      See above for “first device.”

                                                      ITU-T J.780 (06/2012) definition of “content”: “A
                                                      combination of audio, still image, graphic, video,
                                                      or data. NOTE – A variety of formats is classified
                                                      as the "data" (e.g., text, encoded values,
                                                      multimedia description language introduced by
                                                      ITU-T H.760).”



                                                                               14
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                                              https://www.itu.int/net/ITU-R/asp/terminology-
                                              definition.asp?lang=en&rlink={46309866-F797-
                                              45BC-81E9-2B6B2DAC1F32}

                                              ITU-T T.411 (93), 3.39 definition of “content”:
                                              The information conveyed by the document, other
                                              than the structural information, and that is intended
                                              for human perception.

                                              https://www.itu.int/net/ITU-R/asp/terminology-
                                              definition.asp?lang=en&rlink={0A3C5266-56D4-
                                              4ED8-9076-A4345192D7EB}

                                              ITU-T X.902 (95), 12.2; X.910 (98), 6.2 Definition
                                              for Identifier: “An unambiguous name, in a given
                                              naming context”

                                              https://www.itu.int/net/ITU-R/asp/terminology-
                                              definition.asp?lang=en&rlink={5C58FBE6-BE32-
                                              4E31-81CE-676FCB191E2B}

                                              (see 12.2 of ITU-T Rec. X.902 | ISO/IEC 10746-
                                              2).

                                              International Electrotechnical Commission
                                              definition of identifier: “character or string of
                                              characters, used to identify or name a data item.”

                                              http://www.electropedia.org/iev/iev.nsf/display?op
                                              enform&ievref=171-02-35


 19    Preamble                    Claim 15   Proposed Construction: Preamble is not limiting           Proposed Construction: The preamble is limiting.
                                   [‘866]
                                              Intrinsic Evidence: 52:33-57:59; 173:43-49 of the
                                              ‘866 Patent; see intrinsic support for each disputed
                                              term in the preamble including “first device,”
                                              “second device,” “first server,” “second server,”
                                              “first content identifier;” “identified in the Internet

                                                                        15
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                                              by a second identifier” and “a group of multiple
                                              devices”

 20    “first server”              Claim 15   Proposed Construction: Preamble not limiting /           Proposed Construction: A server, separate from the
                                   [‘866]     plain and ordinary meaning                               first device, the second device, and the group of
                                                                                                       multiple devices, from which the internet content is
                                              Intrinsic Support: Figs. 2, 5b, 7, 11, 11a-c, 12, 12a,   fetched.
                                              13, 20, 26a-d, 34, 49; 2:34-35; 4:33-54; 6:18-8:46;
                                              51:19-56:29; 61:65-62:63; 63:14-27; 65:31-58;            Intrinsic support: “FIG. 5 depicts schematically client
                                              66:8-17;73:63-74:19; 81:21-85:34; 86:15-41;              devices, tunnel devices, and servers connected to the
                                              93:34-94:6; 96:32-62 of the ‘044 Patent; and             Internet” Col. 78, lines 17-18.
                                              173:43-49 of the ‘866 Patent
                                                                                                       “In one example, an accessing to a data server is
                                              Extrinsic Support:                                       improved by using an intermediate device referred to
                                                                                                       as ‘tunnel’ device, that is executing a ‘tunnel’
                                              PC Mag Encyclopedia definition for computing             flowchart. FIG. 5 shows a system 30 including two
                                              device: “Any electronic equipment controlled by a        client devices, a client device #1 31a and a client
                                              CPU, including desktop and laptop computers,             device #2 31b, that may access the data servers 22a
                                              smartphones and tablets. It usually refers to a          and 22b using one or more of a tunnel device #1
                                              general-purpose device that can accept software for      33a, a tunnel device #2 33b, and a tunnel device #3
                                              many purposes in contrast with a dedicated unit of       33c, under the management and control of an
                                              equipment such as a network switch or router.”           acceleration server 32. These network elements
                                                                                                       communicates with each other using the Internet
                                              https://www.pcmag.com/encyclopedia/term/66551/           113.” Col. 83, lines 25-34 (emphasis added)
                                              computing-device
                                                                                                       “The chart 50 shows the messaging and related
                                              IEV ref 732-01-12 definition of server: “functional      timing associated with the operation of the
                                              unit that provides services to workstations, to          acceleration server 32 (corresponding to a dashed
                                              personal computers or to other functional units in a     line 51a), a client device such as the client device #1
                                              computer network”                                        31a (corresponding to a dashed line 51b), a tunnel
                                                                                                       device such as the tunnel device #1 33a
                                              http://www.electropedia.org/iev/iev.nsf/display?op       (corresponding to a dashed line 51c), and a data
                                              enform&ievref=732-01-12                                  server such as the data server #1 22a (corresponding
                                                                                                       to a dashed line 51d).” Col. 83, lines 42-48
                                              Websters Dictionary definition of server: “a             (emphasis added)
                                              computer in a network that is used to provide
                                              services (such as access to files or shared
                                              peripherals or the routing of e-mail) to other
                                              computers in the network.”



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                                                   https://www.merriam-
                                                   webster.com/dictionary/server

 21    “identified in the Internet by   Claim 15   Proposed Construction: Plain and ordinary               Proposed Construction: Identified by information
       a second identifier”             [‘866]     meaning                                                 that includes an address of the first server.

                                                   Intrinsic Support: Fig. 15; 5:2-47; 8:12-29; 12:28-     Intrinsic support: “fetching a content over the
                                                   49; 19:49-20:36; 46:30-43; 47:37-44; 51:19-56:29        Internet from a first server identified in the Internet
                                                   56:59-57:36; 58:20-30; 61:65-62:63; 63:43-56;           by a second identifier” Claim 15 preamble
                                                   73:41-47; 95:25-96:3; 102:45-59; 107:34-47;
                                                   110:33-111:10; 124:26-57; 170:40-42; 171:31-32;
                                                   172:5-12; 173:19-31; 174:58-175:6 of the ’044
                                                   Patent; see also intrinsic support for “first content
                                                   identifier,” “first device,” “second device,” “first
                                                   server,” and “second server.”


 22    “a group of multiple devices”               Proposed Construction: Plain and ordinary               Proposed Construction: A plurality of devices that
                                                   meaning                                                 are able to fetch the internet content from the first
                                                                                                           server and which does not include the first device
                                                   Intrinsic Evidence: Fig. 5; 52:33-57:59; 58:9-24;       and the second server.
                                                   61:50-62:17; 63:40-43; 83:54-84:1; 58:9-24 of the
                                                   ’866 Patent; see also intrinsic support for “first      Intrinsic support: “FIG. 5 depicts schematically client
                                                   device” and “second device”                             devices, tunnel devices, and servers connected to the
                                                                                                           Internet” Col. 78, lines 17-18.

                                                                                                           “In one example, an accessing to a data server is
                                                                                                           improved by using an intermediate device referred to
                                                                                                           as ‘tunnel’ device, that is executing a ‘tunnel’
                                                                                                           flowchart. FIG. 5 shows a system 30 including two
                                                                                                           client devices, a client device #1 31a and a client
                                                                                                           device #2 31b, that may access the data servers 22a
                                                                                                           and 22b using one or more of a tunnel device #1
                                                                                                           33a, a tunnel device #2 33b, and a tunnel device #3
                                                                                                           33c, under the management and control of an
                                                                                                           acceleration server 32. These network elements
                                                                                                           communicates with each other using the Internet
                                                                                                           113.” Col. 83, lines 25-34 (emphasis added)




                                                                            17
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                                                                                                              “The chart 50 shows the messaging and related
                                                                                                              timing associated with the operation of the
                                                                                                              acceleration server 32 (corresponding to a dashed
                                                                                                              line 51a), a client device such as the client device #1
                                                                                                              31a (corresponding to a dashed line 51b), a tunnel
                                                                                                              device such as the tunnel device #1 33a
                                                                                                              (corresponding to a dashed line 51c), and a data
                                                                                                              server such as the data server #1 22a (corresponding
                                                                                                              to a dashed line 51d).” Col. 83, lines 42-48
                                                                                                              (emphasis added)
 23    “partitioning the content into    Claim 15,    Proposed Construction: Not indefinite / plain and       Proposed Construction: Indefinite under 35 U.S.C.
       a plurality of content slices”    16-18, 23-   ordinary meaning                                        §112- “partitioning the content”
                                         24 [‘866]
       Exemplary Claim                                Intrinsic Support: 16:18-35; 53:36-48; 57:39-           Alternatively:
       Language:                                      58:24; 63:37-64:5; 68:67-69:27; 71:7-41; 78:8-37;
                                                      93:63-95:16; 103:58-104:62; 141:62-142:34;              Dividing, by a group of multiple devices that is
       “partitioning the content into                 168:48-50; 173:8-14 of the ’866 Patent; see also        fetching internet content, the internet content to be
       a plurality of content slices,                 intrinsic support for “each content slice containing    fetched into a plurality (more than just one) of
       each content slice containing                  at least part of the content” and “each content slice   portions, although the portions can have overlapping
       at least part of the content.”                 … identified using a content slice identifier”          content.
       [Claim 15 of ‘866 Patent]
                                                                                                              Intrinsic support: “splitting the content into content
       “the partitioning is based on                  Extrinsic Support:                                      slices (the resulting content slices may be
       bit, nibble, byte, multi-byte,                                                                         overlapping or non-overlapping).”
       number, character, word, or                    Webster dictionary definition of partition: “one of     (Claim Construction Memorandum and Order;
       string level.” [Claim 16 of                    the parts or sections of a whole”                       Luminati Networks Ltd. v. UAB Tesonet, 2:18-cv-
       ‘866 Patent]                                                                                           299, Dkt. 121)
                                                      https://www.merriam-
       “ the partitioning is based on                 webster.com/dictionary/partitioning
       file or program level” [Claim
       17 of ‘866 Patent]

       “the partitioning is based
       webpages level.” [Claim 18
       of ‘866 Patent]

       “the partitioning is sequential
       in the content.” [Claim 23 of
       ‘866 Patent]



                                                                               18
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       “the partitioning is non-
       sequential in the content.”
       [Claim 24 of ‘866 Patent]

 24    “each content slice                Claim 15,    Proposed Construction: Plain and ordinary               Proposed Construction: Each portion contains at
       containing at least part of the    19-22, 25-   meaning                                                 least part of the internet content.
       content”                           28 [‘866]
                                                       Intrinsic Support: Fig. 21; 5:2-47; 8:12-29; 12:28-     Intrinsic Support: “For example, in the case of a 240
       Exemplary Claim                                 49; 19:49-20:36; 46:30-43; 47:37-44; 52:19-30;          bytes content and using byte-level partitioning into
       Language:                                       56:30-44; 63:43-56; and 172:5-12 of the ’044            three slices (referred as slice #1, slice #2, and slice
                                                       Patent; 46:30-37; 53:36-48; 57:60-58:24; 62:4-18;       #3), a first slice (slice #1) may be including byte #1
       “partitioning the content into                  84:12-18; 93:63-94:54; 105:4-15; 169:48-50 and          to byte #20 (20-byte length), a second slice (slice #2)
       a plurality of content slices,                  172:5-12 of the ’866 Patent; see also intrinsic         may be including byte #21 to byte #100 (80-byte
       each content slice containing                   support for “ partitioning the content into a           length), and a third slice (slice #3) may be including
       at least part of the content.”                  plurality of content slices ” and “each content slice   byte #101 to byte #240 (140-byte length). “ Col. 94,
       [Claim 15 of ‘866 Patent]                       … identified using a content slice identifier”          lines 16-23.

       “all of the parts of the content
       are included in all of the                      Extrinsic Support:
       content slices.” [Claim 19 of
       ‘866 Patent]                                    ITU-T J.780 (06/2012) definition of content: “A
                                                       combination of audio, still image, graphic, video,
       “all of the content slices have                 or data. NOTE – A variety of formats is classified
       the same size.” [Claim 20 of                    as the "data" (e.g., text, encoded values,
       ‘866 Patent]                                    multimedia description language introduced by
                                                       ITU-T H.760).”
       “at least two content slices
       are the same.” [Claim 21 of                     https://www.itu.int/net/ITU-R/asp/terminology-
       ‘866 Patent]                                    definition.asp?lang=en&rlink={46309866-F797-
                                                       45BC-81E9-2B6B2DAC1F32}
       “part of the content is
       included in two or more                         ITU-T T.411 (93), 3.39 definition of content: The
       content slices.” [Claim 22 of                   information conveyed by the document, other than
       ‘866 Patent]                                    the structural information, and that is intended for
                                                       human perception.
       “a distinct device is selected
       for each content slice.”                        https://www.itu.int/net/ITU-R/asp/terminology-
       [Claim 26 of ‘866 Patent]                       definition.asp?lang=en&rlink={0A3C5266-56D4-
                                                       4ED8-9076-A4345192D7EB}


                                                                                19
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                                                    Dictionary.com definition of slice: “a part, portion,
                                                    or share”

                                                    https://www.dictionary.com/browse/slice?s=t

 24    “each content slice …             Claim 15   Proposed Construction: Plain and ordinary               Proposed Construction: Each portion is identified
       identified using a content        [‘866]     meaning                                                 uniquely relative to the other portions.
       slice identifier”
                                                    Intrinsic Support: 94:23-30; 105:16-30; 142:18-27       Intrinsic Support: ‘044-102:45:59, 138:49-139:3,
       Exemplary Claim                              of the ’866 Patent; see also intrinsic support for      164:34-36
       Language:                                    “each content slice containing at least part of the
                                                    content” and “partitioning the content into a           Intrinsic Support: “The method comprising the steps
       “partitioning the content into               plurality of content slices”                            of the first device partitioning at least part of the first
       a plurality of content slices,                                                                       content into a plurality of first content slices
       each content slice containing                                                                        according to a partitioning scheme; the first device
       at least part of the content,                Extrinsic Support:                                      associating a distinct slice identifier to each of the
       and identified using a content                                                                       first content slices according to a rule; the second
       slice identifier.” [Claim 15 of              ITU-T J.780 (06/2012) definition of content: “A         device partitioning at least part of the second content
       ‘866 Patent]                                 combination of audio, still image, graphic, video,      into a plurality of second content slices according to
                                                    or data. NOTE – A variety of formats is classified      a partitioning scheme; the second device associating
       “the first request including                 as the "data" (e.g., text, encoded values,              a distinct slice identifier to each of the second
       the content slice identifier                 multimedia description language introduced by           content slices according to the rule.” Col. 69, lines 4-
       and the second identifier”                   ITU-T H.760).”                                          8 (emphasis added)
       [Claim 15 of ‘866 Patent]
                                                    https://www.itu.int/net/ITU-R/asp/terminology-
                                                    definition.asp?lang=en&rlink={46309866-F797-
                                                    45BC-81E9-2B6B2DAC1F32}

                                                    ITU-T T.411 (93), 3.39 definition of content: The
                                                    information conveyed by the document, other than
                                                    the structural information, and that is intended for
                                                    human perception.

                                                    https://www.itu.int/net/ITU-R/asp/terminology-
                                                    definition.asp?lang=en&rlink={0A3C5266-56D4-
                                                    4ED8-9076-A4345192D7EB}

                                                    Dictionary.com definition of slice: “a part, portion,
                                                    or share”


                                                                             20
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                                                   https://www.dictionary.com/browse/slice?s=t

                                                   ITU-T X.902 (95), 12.2; X.910 (98), 6.2 Definition
                                                   for Identifier: “An unambiguous name, in a given
                                                   naming context”

                                                   https://www.itu.int/net/ITU-R/asp/terminology-
                                                   definition.asp?lang=en&rlink={5C58FBE6-BE32-
                                                   4E31-81CE-676FCB191E2B}

                                                   (see 12.2 of ITU-T Rec. X.902 | ISO/IEC 10746-
                                                   2).

 25    “a plurality of content slices   Claim 15   Proposed Construction: Plain and ordinary             Proposed Construction: Performing the following
       … and for each of the content    [‘866]     meaning                                               steps for each of the plurality of content slices
       slices”                                                                                           (portions), rather than just a single time for the
                                                   Intrinsic Evidence: Fig. 5; 52:33-57:59; 58:9-24;     entirety of the fetched internet content.
                                                   61:50-62:17; 63:40-43; 83:54-84:1; 58:9-24;
                                                   173:43-49 of the ‘866 Patent; see intrinsic support   Intrinsic support: “some or all of the content, created
                                                   for each disputed term in the preamble including      by partitioning the content and useable with other
                                                   “first device,” “second device,” “first server,”      content slices to reconstruct the content.”
                                                   “second server,” “first content identifier;”          (Claim Construction Memorandum and Order;
                                                   “identified in the Internet by a second identifier”   Luminati Networks Ltd. v. UAB Tesonet, 2:18-cv-
                                                   and “a group of multiple devices”                     299, Dkt. 121)

 26    “selecting a device from the     Claim 15   Proposed Construction: Plain and ordinary             Proposed Construction: Selecting, by some node
       group”                           [‘866]     meaning                                               other than the first server and one of the group of
                                                                                                         multiple devices, a device within the group of
                                                   Intrinsic Evidence: Fig. 5; 52:33-57:59; 58:9-24;     multiple devices.
                                                   61:50-62:17; 63:40-43; 83:54-84:1; 58:9-24;
                                                   173:43-49 of the ‘866 Patent; see intrinsic support   Intrinsic Support: “Based on pre-set criteria, a tunnel
                                                   for each disputed term in the preamble including      device (or multiple tunnel devices) is selected by the
                                                   “first device,” “second device,” “first server,”      client device #1 31a in a ‘Tunnel Select’ step 53c
                                                   “second server,” “first content identifier;”          (corresponding to a ‘Select Tunnel’ step 62c in the
                                                   “identified in the Internet by a second identifier”   flowchart 60). Col. 85, lines 6-9
                                                   and “a group of multiple devices”




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 27    “sending over the Internet a    Claim 15   Proposed Construction: Plain and ordinary                  Proposed Construction: Sending, by some node
       first request to the selected   [‘866]     meaning                                                    other than the first server and one of the group of
       device using the group device                                                                         multiple devices, to the selected device, a request to
       identifier of the selected                 Intrinsic Support: Fig. 15; 5:2-47; 8:12-29; 12:28-        fetch the internet content device within the group of
       device”                                    49; 19:49-20:36; 46:30-43; 47:37-44; 51:19-56:29           multiple devices and that uses the selected device’s
                                                  56:59-57:36; 58:20-30; 61:65-62:63; 63:43-56;              unique identification.
                                                  64:48-65:5; 65:31-44; 73:41-47; 74:20-39; 84:19-
                                                  44; 86:15-30; 95:25-96:3; 102:45-59; 107:34-47;            Intrinsic support: Plain and ordinary meaning.
                                                  110:33-111:10; 124:26-57; 170:40-42; 171:31-32;            (Claim Construction Memorandum and Order;
                                                  172:5-12; 173:19-31; 174:58-175:6 of the ’044              Luminati Networks Ltd. v. UAB Tesonet, 2:18-cv-
                                                  Patent and 61:50-62:3 of the ‘866 Patent; see also         299, Dkt. 121)
                                                  intrinsic support for “first content identifier,” “first
                                                  device,” “second device,” “first server,” and
                                                  “second server.”

 28    “the first request including    Claim 15   Proposed Construction: Plain and ordinary                  Proposed Construction: The request for fetching the
       the content slice identifier    [‘866]     meaning                                                    internet content, that is sent to the selected device,
       and the second identifier”                                                                            includes (1) the content slice identifier and (2)
                                                  Intrinsic Support: Fig. 15; 5:2-47; 8:12-29; 12:28-        information that includes the address of the first
                                                  49; 19:49-20:36; 46:30-43; 47:37-44; 51:19-56:29           server.
                                                  56:59-57:36; 58:20-30; 61:65-62:63; 63:43-56;
                                                  64:48-65:5; 65:31-44; 73:41-47; 74:20-39; 84:19-           Intrinsic support: “After thorough review of related
                                                  44; 86:15-30; 95:25-96:3; 102:45-59; 107:34-47;            prior art, the application has been deemed allowable
                                                  110:33-111:10; 124:26-57; 170:40-42; 171:31-32;            because of the limitations of selecting a client device
                                                  172:5-12; 173:19-31; 174:58-175:6 of the ’044              from a group of devices corresponding to a group
                                                  Patent; see also intrinsic support for “first content      device ID, sending a request to the selected device,
                                                  identifier,” “first device,” “second device,” “first       wherein the request includes a content segment
                                                  server,” and “second server.”                              identifier and a second identifier identifying a
                                                                                                             server” ’866 Notice of Allowance, page 3, April 13,
                                                                                                             2017 (emphasis added)

 29    “the partitioning is based      Claim 18   Proposed Construction: Plain and ordinary                  Proposed Construction: Each of the plurality (more
       webpages level”                 [‘866]     meaning                                                    than just one) of portions of the fetched internet
                                                                                                             content corresponds to one or more webpages.
                                                  Intrinsic Support: 94:23-30;104:54-62; 168:48-50;
                                                  173:15-17; 174:25-24; see also intrinsic support           Intrinsic support: “The fourth column 151d describes
                                                  for ““partitioning content into a plurality of content     the identifier of the content that was fetched during
                                                  slices,” “each content slice containing at least part      this transaction, such as IP address, URL, web-site or
                                                  of the content” and “each content slice …                  web-page, where the first transaction content (in the
                                                  identified using a content slice identifier.”              first row l52a) relates to the URL

                                                                            22
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                                                                                                              www.ll1.com/22.mpg, the second transaction content
                                                                                                              (in the second row l52b) relates to the URL
                                                                                                              www.xxx.com/hy.avi, the third transaction content
                                                                                                              (in the third row l52e) relates to the URL
                                                                                                              www.yyy.com/16.php. and so forth.” Col. 98, lines
                                                                                                              24-31

 30    “all of the parts of the content   Claim 19   Proposed Construction: Not indefinite / Plain and        Proposed Construction: Indefinite under 35 U.S.C.
       are included in all of the         [‘866]     ordinary meaning                                         §112
       content slices”
                                                     Intrinsic Support: 168:48-50; 174:25-24; see also        Intrinsic support: Furthermore, since multiple parts
                                                     intrinsic support for ““partitioning the content into    of the content stored in a data server (such as the data
                                                     a plurality of content slices,” “each content slice      server #1 22a) are loaded in parallel to a client device
                                                     containing at least part of the content” and “each       (such as the client device #1 31a) using multiple
                                                     content slice … identified using a content slice         distinct paths, the content is fetched faster and using
                                                     identifier.”                                             more effectively the network resources. Col. 88,
                                                                                                              lines 14-19

                                                                                                              In a 'Same as Local Copy' step 494e and a 'Same as
                                                                                                              Server Slice' step 494f, two parts of the content are
                                                                                                              compared. The actual information in the compared
                                                                                                              parts may be compared in a bit-by-bit (or byte-by-
                                                                                                              byte) level. Col. 146, lines 44-47

 31    “part of the content is            Claim 22   Proposed Construction: “two or more slices               Proposed Construction: At least two of the plurality
       included in two or more            [‘866]     including at least an overlapping part of the            (more than just one) of portions of the fetched
       content slices”                               content”                                                 internet content have overlapping content.

       Exemplary Claim                               Intrinsic Support: Fig. 21; 94:23-57; 104:27-            Intrinsic support: Plain and ordinary meaning.
       Language:                                     105:15; 168:48-50; 173:8-14 of the ’866 Patent;          (Claim Construction Memorandum and Order;
                                                     see also intrinsic support for ““partitioning the        Luminati Networks Ltd. v. UAB Tesonet, 2:18-cv-
       “wherein part of the content                  content into a plurality of content slices,” “each       299, Dkt. 121)
       is included in two or more                    content slice containing at least part of the content”
       content slices.” [Claim 22 of                 and “each content slice … identified using a
       ‘866 Patent]                                  content slice identifier.”




                                                                              23
